                 Case 3:13-cv-05222-BHS Document 97 Filed 04/02/14 Page 1 of 3



 1                                                                   The Honorable Benjamin H. Settle

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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT TACOMA

 9   AFRODITA ASANACHESCU, individually,                  NO. C13-5222-BHS
     and CRISTIAN C. ASANACHESCHU,
10   individually and as personal representative of       ORDER DISMISSING PLAINTIFFS’
     the ESTATE OF MARIUS CRISTIAN                        CLAIMS AGAINST DEFENDANT
11   ASANACHESCHU, deceased,                              CONMED, INC.
12                   Plaintiffs,
13           v.
14   CLARK COUNTY, a municipal corporation,
     CONMED, INC., a Maryland corporation,
15   GARRY E. LUCAS, JACKIE M. WEBSTER,
     NEAL A. KARLSEN, PAUL E. FLORES,
16   RANDAL J. TANGEN, ERIC L. BJORKMAN,
     ELISSA M. BLACK, JAMES M. BURNS,
17   KENT R. CARROLL, DANIEL R. CLUZEL,
     LUKE A HATCHER, CHERYL J. TAYLOR,
18   DANIEL M. GORECKI, MD, JAMES E.
     DOUGLAS, MD, NEAL J. RENDLEMAN,
19   MD, KARIN M. PREST, JULIE R.
     WEIGAND, YULIYA A. LEONTYUK, HEIDI
20   E. RICHARDS, KELLE J. PRICE and
     MARITZA D. HERNANDEZ,
21
                     Defendants.
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23           This matter came before the above-entitled court upon the stipulated motion of the
24   plaintiffs and defendant Conmed, Inc. for the entry of an order dismissing the plaintiffs’ claims
25   against Conmed, Inc. with prejudice and without an award of any costs or fees.

     ORDER DISMISSING PLAINTIFFS’ CLAIMS AGAINST                       Williams, Kastner & Gibbs PLLC
                                                                       888 SW Fifth Avenue, Suite 600
     DEFENDANT CONMED, INC. - 1                                        Portland, OR 97204-2025
     (C13-5222 BHS)                                                    Telephone: (503) 228-7967• Fax (503) 222-7261

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                 Case 3:13-cv-05222-BHS Document 97 Filed 04/02/14 Page 2 of 3



 1           The court has considered the motion and ORDERS that:

 2           The plaintiffs’ claims against Conmed, Inc. are hereby dismissed with prejudice and

 3   without an award of any costs or fees.

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 5           ENTERED this 2nd day of April, 2014.
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                                                 ABENJAMIN H. SETTLE
                                                  United States District Judge
10   s/ Todd W. Reichert, WSBA #35557
     Eric J. Neiman, WSBA #14473
11   Todd W. Reichert, WSBA #35557
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12   Cheryl J. Taylor, Daniel M. Gorecki, MD,
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13   Julie R. Weigand, Yuliya A. Leontyuk,
     Heidi E. Richards, Kelle J. Price, and
14   Maritza D. Hernandez

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20   s/ William F. Nelson, WSBA #1013
     William F. Nelson, WSBA #1013
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     ORDER DISMISSING PLAINTIFFS’ CLAIMS AGAINST                     Williams, Kastner & Gibbs PLLC
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     (C13-5222 BHS)                                                  Telephone: (503) 228-7967• Fax (503) 222-7261

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                 Case 3:13-cv-05222-BHS Document 97 Filed 04/02/14 Page 3 of 3



 1   s/David P. Meyer, WSBA #19643
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 2   Attorneys for Plaintiffs

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     ORDER DISMISSING PLAINTIFFS’ CLAIMS AGAINST            Williams, Kastner & Gibbs PLLC
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     DEFENDANT CONMED, INC. - 3                             Portland, OR 97204-2025
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